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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA and THE
 STATE OF DELAWARE ex rel. RONALD
 SHERMAN,                                           Civil Action No.: 1:17-cv-00419RGA
                    Plaintiffs-Relator,             CONFIDENTIAL – FILED UNDER
                                                    SEAL
         v.

 CHRISTIANA CARE HEALTH SERVICES,
 INC., CHRISTIANA CARE HEALTH
 SYSTEM, CHRISTIANA HOSPITAL, and
 WILMINGTON HOSPITAL,

                    Defendants.


                [PROPOSED] ORDER GRANTING DEFENDANTS’
          MOTION TO EXCLUDE RELATOR’S EXPERT VIRGINIA B. EVANS

        Having considered Defendants’ Christiana Care Health Services, Inc., Christiana Care

 Health System, Inc., Christiana Hospital, and Wilmington Hospital’s Motion to Exclude Relator’s

 Expert Virginia B. Evans (“Motion”);

        IT IS HEREBY ORDERED this _________ day of ___________________, 2023 that the

 Motion is GRANTED.



                                                    The Honorable Richard G. Andrews
                                                    United States District Court Judge
